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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
vs.                                        §            Criminal No. 4:15-cr-0566
                                           §
LEE ROY VILLARREAL                         §

      GOVERNMENT'S OPPOSED MOTION TO EXCLUDE EXPERT
                        WITNESSS

       The United States of America (“Government”) files this Motion to Exclude

Expert witness:

                                               I.

       Fed. Rule of Crim. Proc. 16(b)(1)(C) provides that the defendant must, at the

government's request, give to the government a written summary of any testimony

that the defendant intends to use under Rules 702, 703, or 705 of the Federal Rules

of Evidence as evidence at trial, if--

       (i) the defendant requests disclosure under subdivision (a)(1)(G) and the

government complies; or

       (ii) the defendant has given notice under Rule 12.2(b) of an intent to present

expert testimony on the defendant's mental condition.

       This summary must describe the witness's opinions, the bases and reasons

for those opinions, and the witness's qualifications.



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Fed. Rule of Evidence 702 provides:

      A witness who is qualified as an expert by knowledge, skill, experience,

training, or education may testify in the form of an opinion or otherwise if:

      (a) the expert's scientific, technical, or other specialized knowledge will help
      the trier of fact to understand the evidence or to determine a fact in issue;

      (b) the testimony is based on sufficient facts or data;

      (c) the testimony is the product of reliable principles and methods; and

      (d) the expert has reliably applied the principles and methods to the facts of
      the case.


                                               II.

      1. On August 24, 2017, the Defense filed a motion for disclosure of expert

witness. (D.E. 102).

      2. On September 8, 2017, U.S. District Judge Melinda Harmon signed an

order granting the Defense motion for disclosure of expert witness (D. E. 107).

      3. On January 28, 2018, the Government filed a request for reciprocal

discovery (D.E. 137) which included a request for notice of expert witness

pursuant to Fed. Rule of Crim. Proc. 16.

      4.     On March 15, 2018, U.S. District Judge Melinda Harmon

signed an order requiring the Defendant to comply with the requirements of Rule

16 and 26.2 (D.E. 152),


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      5.       On June 10, 2021, counsel for the Defendant emailed the undersigned

and indicated it intends to call an expert witness, Michael Deibert. The defense

indicated that Mr. Deibert “is a journalist who lived in and around the Gulf Coast

and Tamaulipas during the Gulf Cartel infighting at the relevant time in our case

[and author of] a book [entitled] In the Shadow of Saint Death: The Gulf

Cartel and the Price of America's Drug War in Mexico. He has testified at asylum

hearings as an expert witness before.”

                                              III.

      The Defense notice of expert witness fails to comply with Fed. Rule of Crim.

Proc. 16(b)(1)(C) because it fails to describe the witness's opinions, the bases and

reasons for those opinions, and the witness's qualifications. The Government

submits that general testimony about the Gulf cartel and/or the Zeta cartel would not

help the jury understand the evidence or determine a fact in issue and as such, is

inadmissible under F.R.E. 702. Further the anticipated testimony is irrelevant to the

guilt or innocence of the Defendant and likely to confuse, waste time and/or mislead

the jury. See F.R.E. 401 - 403. For these reasons, the testimony of the witness should

be excluded.

                                               Respectfully submitted,




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                        CERTIFICATE OF SERVICE

      On June 11, 2021, the Government filed this Motion to Exclude Alibi witness

by ECF and sent to counsel of record.

                                            s/ Anibal J. Alaniz
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                                            Assistant United States Attorney

                                            s/ Casey N. MacDonald
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